Case 2:13-cv-04157-KM-MCA Document 1-1 Filed 07/08/13 Page 1 of 10 PageID: 4




                 EXHIBIT A
Case 2:13-cv-04157-KM-MCA Document 1-1 Filed 07/08/13 Page 2 of 10 PageID: 5
Case 2:13-cv-04157-KM-MCA Document 1-1 Filed 07/08/13 Page 3 of 10 PageID: 6
Case 2:13-cv-04157-KM-MCA Document 1-1 Filed 07/08/13 Page 4 of 10 PageID: 7
Case 2:13-cv-04157-KM-MCA Document 1-1 Filed 07/08/13 Page 5 of 10 PageID: 8
Case 2:13-cv-04157-KM-MCA Document 1-1 Filed 07/08/13 Page 6 of 10 PageID: 9
Case 2:13-cv-04157-KM-MCA Document 1-1 Filed 07/08/13 Page 7 of 10 PageID: 10
Case 2:13-cv-04157-KM-MCA Document 1-1 Filed 07/08/13 Page 8 of 10 PageID: 11
Case 2:13-cv-04157-KM-MCA Document 1-1 Filed 07/08/13 Page 9 of 10 PageID: 12
Case 2:13-cv-04157-KM-MCA Document 1-1 Filed 07/08/13 Page 10 of 10 PageID: 13
